             Case 3:13-cr-05637-BHS               Document 55     Filed 03/03/14        Page 1 of 1




1                                                                             Judge Benjamin H. Settle
2
3
4
5
6
                              UNITED STATES DISTRICT COURT FOR THE
7                               WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
8
9
      UNITED STATES OF AMERICA,                                 NO. CR13-5637BHS
10
                               Plaintiff
11
                                                                ORDER TO SEAL
12
                         v.
13
      ERIC L. WRIGHT, Jr.,
14
                               Defendant.
15
16
             Having read the Government’s Sentencing Memorandum in the above-captioned
17
     case, which was filed under seal, and Government’s Motion to Seal requesting that the
18
     Government’s Sentencing Memorandum be allowed to remain under seal,
19
             It is hereby ORDERED that the Government’s Sentencing Memorandum in this
20
     matter shall remain sealed.
21
             DATED this 3rd day of March, 2014.
22
23
24
25
26
                                                      A
                                                      BENJAMIN H. SETTLE
                                                      United States District Judge
27
28
     ORDER TO SEAL - 1                                                               UNITED STATES ATTORNEY
                                                                                     1201 PACIFIC AVENUE, SUITE 700
     United States v. Eric Wright, CR13-5637BHS
                                                                                      TACOMA, WASHINGTON 98402
                                                                                             (253) 428-3800
